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Robert I. Bodian (pro hac vice application pending)
Scott A. Rader (pro hac vice application pending)
Amanda B. Asaro (pro hac vice application pending)
Kerime S. Akoglu (pro hac vice application pending)
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Counsel for Defendants
                      UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division
__________________________________________
In re                                          )      Chapter 11
                                               )
TOYS “R” US, INC., et al.,1                    )      Case No. 17-34665 (KLP)
                                               )
                            Debtors.           )      (Jointly Administered)
__________________________________________)
TRU CREDITOR LITIGATION TRUST,                 )
                                               )
Plaintiff,                                     )      Adv. Proceeding No. 20-03038-KLP
                                               )
v.                                             )
                                               )
DAVID A BRANDON, et al.,                       )
                                               )
Defendants.                                    )
__________________________________________)

 DEFENDANTS’ MOTION TO DISMISS COMPLAINT PURSUANT TO FRCP 12(B)(6)
______________________________________________________________________________


1
 The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting Related
Relief [Docket No. 78]. The location of Debtors’ service address is One Geoffrey Way, Wayne, NJ 07470.
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       David A. Brandon, Joshua Bekenstein, Matthew S. Levin, Paul E. Raether, Nathaniel H.

Taylor, Joseph Macnow, Wendy A. Silverstein, Richard Goodman, Michael Short, and Richard

Barry (collectively, the “Defendants”) move to dismiss with prejudice the complaint

(“Complaint”) and each cause of action filed herein by Plaintiff TRU Creditor Litigation Trust

(“TRU”) for failure to state a cause of action upon which relief may be granted, pursuant to Rule

12(b)(6).

                                            Background

       1.      Plaintiff TRU Creditor Litigation Trust (“TRU”) filed its Complaint in the

Supreme Court of the State of New York, County of New York. The matter was removed to the

U.S. District Court for the Southern District of New York, transferred upon Defendants’ motion

to the U.S. District Court for the Eastern District of Virginia (the “District Court”), and referred

by the District Court to the Bankruptcy Court.

       2.      Every cause of action in the Complaint fails to state a claim upon which relief can

be granted, as set forth in detail in the accompanying Memorandum of Law.

       WHEREFORE, for the reasons set forth in the accompanying Memorandum of Law,

Defendants respectfully request that the Court dismiss with prejudice all causes of action in the

Complaint.


                                               DAVID A. BRANDON;
                                               JOSHUA BEKENSTEIN;
                                               MATTHEW S. LEVIN;
                                               PAUL E. RAETHER;
                                               NATHANIEL H. TAYLOR;
                                               JOSEPH MACNOW;
                                               WENDY A. SILVERSTEIN;
                                               RICHARD GOODMAN;
                                               MICHAEL SHORT; and
                                               RICHARD BARRY



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Dated: May 21, 2020
       Richmond, Virginia

                                       By:       /s/ J. Brandon Sieg
                                                 Counsel

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                                       pending)
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                                       Counsel for Defendants




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